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                                                                     E-FILED
                                    Tuesday, 03 December, 2019 09:34:25 AM
                                                Clerk, U.S. District Court, ILCD




EXHIBIT D
(To Dckt # 39
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                                   EXHIBIT D
                          Settlement Contact Information
      NAME          Last Known    Defendant Employer     Gross Settlement    Leadership
                      Address                             Amount (subject      Award
                                                          to IRS Form W2     (Subject to
                                                           and applicable     IRS Form
                                                            State Taxes)        1099)
Brittney Watt                     Fox Restaurant         $1,622.25          $500.00
                                  Venture

James Kirkpatrick                 Fox NC Acquisition     $2,242.80          $500.00


Paul Rowland                      Fox SC Acquisition     $18,954.60         $500.00


Richard Peterson                  Fox SC Acquisition     $8,435.70          N/A



Jayson Bodo                       Fox Restaurant         N/A                N/A
                                  Venture

Samuel Carter                     Fox NC Acquisition     $2,725.20          N/A


Greg Hoffman                      Fox NC Acquisition     $1,557.36          N/A



Kenton Reives                     Fox NC Acquisition     $4,701.00          N/A


Chaqwanda Rosa                    Fox NC Acquisition     N/A                N/A


Renae Todd                        Fox NC Acquisition     $3,692.25          N/A


Mark Turner                       Plaintiff Excluded—    N/A                N/A
                                  never employed by
                                  any named Defendant

Richard Halloway                  Fox NC Acquisition     $68.13             N/A


                                  TOTAL:                 $43,999.29         +$1,500.00
